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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
AC2T, Inc., d/b/a Spartan Mosquito,   :
                                      :    Civil Action
              Plaintiff,              :    Case Number: 2:19-cv-05946-RBS
                                      :
              v.                      :    Jury Trial Demanded
                                      :
Colin Purrington,                     :
                                      :
              Defendant.              :
____________________________________:

        MOTION FOR ORDER GOVERNING EXCHANGE OF CONFIDENTIAL
              DOCUMENTS AND INFORMATION IN DISCOVERY

       Plaintiff respectfully requests that the Court enter a confidentiality order to govern the

exchange of confidential documents and information in discovery. This order meets the Third

Circuit’s standard in Pansy v. Borough of Stroudsburg, 23 F.3d 772, 790 (3d Cir. 1994). Neither

party is a public official or government entity. The confidential documentation involves testing

and research on a proprietary product. The scope of confidentiality is not defined more broadly

than necessary: for example, proprietary research, development, trade secrets, financial data, and

personal identifiers. This confidentiality order has minimal to zero affect on the public’s access.

The Court will be able to determine the merits of the case publicly based on pleadings,

documents, and arguments available on the docket. Rather, this is an order only on

documentation and information exchanged pursuant to discovery, and only requires sealing and
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redaction if a party files a confidential document or describes it in a filing. For these reasons, the

Court should enter the proposed order to govern the exchange of confidential documents and

information in this case.

        Plaintiff sought Defendant’s position on this matter but has received no response as of the

time of this filing.

                                                       Respectfully submitted,


                                                       _/s/ Evan L. Frank____________
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October 22, 2021




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